Case 2:20-cr-00168-NBF Document 3-3 Filed 07/22/20 CLLO= 168

CRIMINAL CASE INFORMATION SHEET
Pittsburgh XxX Erie. J ohnstown

_ Related to No. Judge

 

 

(All criminal prosecutions arising.out of the same criminal transaction or series of transactions are
deemed related).

CATEGORY: 1. Narcotics and Other Controlled Substances |

la. ___ Narcotics and Other Controlled Substances
(3 or more Defendants) |

2. __ Fraud and Property Offenses

2a. _ Fraud and Property Offensés

(3 or more Defendants)

 

3 Crimes of Violence

4 Sex Offenses

5. Firearms and Explosives

6 ____ Immigration

7 _X_ All Others
Defendant’s name: . . George Allen
Is indictment waived: - Yes » xX No
Pretrial Diversion: Co Yes xX No
Juvenile proceeding: | Yes X No.
Defendant is: Do X Male Female
Superseding indictment or information — = Yes X No

Previous case number:

 

_ If superseding, previous case was/will be:

Dismissed on defendant’s motion
Dismissed on governments’ motion
After appellate action °

Other (explain)

~ County in which first offense cited
occurred: . , Allegheny County

 

Previous proceedings before
_ Magistrate Judge:

 

Case No.:

 

PLEASE INCORPORATE MAGISTRATE CASE WITH CRIMINAL-CASE
Case 2:20-cr-00168-NBF

Date arrested or date continuous U.S.

custody began:

Defendant:

_ Name of Institution: .

Custody is on:

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is in custody X__ is not in custody

 

this charge another charge —

another conviction

 

 

 

COUNT U.S. CODE

1

 

a State ; a Federal
Detainer filed: ____yes . no
Date detainer filed:
Total defendants: 1.
Total counts: “1
Data below applies to defendant No.: 1.
Defendant’s name: George Allen
SUMMARY OF COUNTS
OFFENSE FELONY MISDEMEANOR .
. 18 U.S.C. §§ 2 and 231(a)(3) Obstruction of Law Enforcement x

During Civil Disorder

I certify that to the best of my knowledge the above entries are true and correct.

DATE: JUL 2-2 2020

 

s/Jonathan D. Lusty
JONATHAN D. LUSTY
Assistant U.S. Attorney
PA ID No. 311180.

 
